                    UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                         NASHVILLE DIVISION


MARGARET LITTMAN, et al.,

           Plaintiffs,                          No. 3:24-cv-194

     v.                                         Chief Judge Waverly D. Crenshaw, Jr.

UNITED STATES DEPARTMENT OF                     Magistrate Judge Barbara D. Holmes
  LABOR, et al.,

           Defendants.


        DEFENDANTS’ CONSOLIDATED BRIEF IN OPPOSITION TO
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
AND IN SUPPORT OF DEFENDANTS’ CROSS-MOTION TO DISMISS OR, IN THE
              ALTERNATIVE, FOR SUMMARY JUDGMENT

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                                      INTRODUCTION

       The Fair Labor Standards Act, 29 U.S.C. §§ 201-19 (“FLSA” or “Act”), was enacted to

eliminate “labor conditions detrimental to the maintenance of the minimum standard of living

necessary for health, efficiency, and general well-being of workers.” 29 U.S.C. § 202. Consistent

with the FLSA’s stated purpose, its “strikingly broad” definition of “employee” protects any

worker who, in light of the totality of the circumstances, is economically dependent on their

employer. Acosta v. Off Duty Police Servs., Inc., 915 F.3d 1050, 1055, 1059 (6th Cir. 2019). On

January 10, 2024, the Department of Labor promulgated interpretive guidance—rooted in the

FLSA’s text, decades of Supreme Court and federal circuit precedent (including in the Sixth

Circuit), and the Department’s own previous subregulatory efforts—for determining whether a

worker is an employee or an independent contractor. See Employee or Independent Contractor

Classification Under the Fair Labor Standards Act, 89 Fed. Reg. 1638-01 (codified at 29 C.F.R.

Part 795) (the “2024 Rule”). The 2024 Rule also rescinded the interpretive guidance that the

Department published in January 2021, Independent Contractor Status Under the Fair Labor

Standards Act, 86 Fed. Reg. 1168 (the “2021 Rule”). See 89 Fed. Reg. at 1639.

       Plaintiffs, two freelance writers, now seek the extraordinary relief of a preliminary

injunction that would invalidate the 2024 Rule and thereby sweep away an analysis that has,

since the 1940s, generally guided the Department in the exercise of its enforcement authority

under the FLSA as well as the broader public. See Mem. in Supp. of Mot. for Prelim. Inj., ECF

No. 7-1 (“Mot.”). But Plaintiffs, who allege that they have worked as freelancers for decades,

cannot plausibly assert that the Department’s restatement of these decades-old principles will

harm them. This case should therefore be dismissed for lack of subject-matter jurisdiction.

       Even if the Court had jurisdiction, Plaintiffs’ request would not make it past what they

concede is the “most important” factor: likelihood of success on the merits. Id. at 7. Because the

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2024 Rule is fully consistent with the FLSA and the Administrative Procedure Act, the Court

should instead advance the trial on the merits and enter judgment for the Department.

       The 2024 Rule is not arbitrary and capricious. As the Department reasonably concluded,

the 2024 Rule is consistent with the FLSA’s text as interpreted by courts, less likely to cause

confusion than the 2021 Rule due to its consistency with judicial precedent, and, if applied by

employers and courts, likely to help prevent the misclassification of workers as independent

contractors, which could result in the denial of FLSA protections. Plaintiffs’ argument hinges on

minor quibbles with the 2024 Rule, such as that it uses six factors rather than five or organizes

the factors slightly differently than some courts. These objections fall far short of what is

required to show that an agency’s action is so unreasoned as to be unlawful.

       The 2024 Rule also falls well within the Department’s authority under the FLSA. The

Rule’s analysis of the distinction between employees and independent contractors faithfully

applies the FLSA’s broad definitions and is consistent with decades of precedent, including in

the Sixth Circuit. The Department also had inherent authority to issue the 2024 Rule as an

interpretive rule, given that it emphasizes that it does nothing more than provide guidance about

how the agency interprets the FLSA. The Court should therefore uphold the Rule.

       Even if Plaintiffs were likely to prevail on the merits, they cannot establish the other

preliminary-injunction factors. Their speculative allegations about how the 2024 Rule might

affect their freelancing do not add up to irreparable injury. On the other side of the ledger, an

injunction would disrupt the Department’s efforts to provide guidance on how to discern whether

a worker is an employee, increasing the risk that vulnerable workers will be misclassified.

       For these reasons, the Court should deny Plaintiffs’ motion for a preliminary injunction

and dismiss this case or, in the alternative, enter judgment for the Department.



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                                      BACKGROUND

I.     The Fair Labor Standards Act

       Congress enacted the FLSA in 1938 to eliminate “low wages and long hours” and “free

commerce from the interferences arising from production of goods under conditions that were

detrimental to the health and well-being of workers.” Rutherford Food Corp. v. McComb, 331

U.S. 722, 727 (1947); see also 29 U.S.C. § 202; 89 Fed. Reg. at 1638. To that end, the FLSA

requires covered employers to pay nonexempt employees at least the federal minimum wage and,

for hours worked over 40 hours in a workweek, 1.5 times the employee’s regular rate, 29 U.S.C.

§§ 206(a), 207(a), and to keep certain records regarding employees, id. § 211(c).

       The Act generally defines employees as “any individual employed by an employer,” 29

U.S.C. § 203(e)(1), and employers to include “any person acting directly or indirectly in the

interest of an employer in relation to an employee,” id. § 203(d). To “employ” is defined to

include “to suffer or permit to work.” Id. § 203(g). The FLSA does not define independent

contractors, who are outside the broad scope of workers covered as employees by the Act.

Rutherford, 331 U.S. at 729; 89 Fed. Reg. at 1638.

       Since the 1940s, courts have applied an “economic reality” test, grounded in the FLSA’s

broad understanding of employment, to determine whether a worker is an employee or an

independent contractor under the Act. 89 Fed. Reg. at 1638, 1641-42 (citing Rutherford, 331

U.S. 722; U.S. v. Silk, 331 U.S. 704 (1947); Bartels v. Birmingham, 332 U.S. 126 (1947); NLRB

v. Hearst Publ’ns, Inc., 322 U.S. 111 (1944)). The ultimate inquiry is whether, as a matter of

economic reality, the worker is economically dependent on the employer for work (and is thus an

employee) or is in business for themself (and is thus an independent contractor), rather than

simply whether the employer would be considered to have control over the worker under the

narrower standards of the common law. Id. at 1638, 1641. In assessing economic dependence,

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courts have historically conducted a totality-of-the-circumstances analysis, considering multiple

factors with no one factor or factors having predetermined weight. Id. at 1638, 1641-44.

       Specifically, in Silk, the Supreme Court identified five factors as “important” for

distinguishing between employees and independent contractors: “degrees of control,

opportunities for profit or loss, investment in facilities, permanency of relation[,] and skill

required in the claimed independent operation.” Id. at 1641 (quoting Silk, 331 U.S. at 716). The

Court added that “[n]o one [factor] is controlling nor is the list complete.” Id. (quoting Silk, 331

U.S. at 716). On the same day that the Supreme Court decided Silk, it also decided Rutherford, in

which it affirmed a decision that analyzed an FLSA employment relationship based on economic

realities. Id. (citing Rutherford, 331 U.S. at 727). In Rutherford, the Court considered several of

the Silk factors and noted that the workers in question were best characterized as “part of the

integrated unit of production under such circumstances that the workers performing the task were

employees.” Id. (quoting Rutherford, 331 U.S. at 729-30). Just one week later, the Court decided

Bartels, again considering several Silk factors and reiterating that courts must consider whether,

in light of the “total situation,” workers are, as a “matter of economic reality[,] … dependent

upon the business to which they render service.” Id. (quoting Bartels, 332 U.S. at 130).

       Consistent with Silk, Rutherford, and their progeny, all of the federal courts of appeals

apply the totality-of-the-circumstances economic reality analysis, using the factors articulated in

Silk while acknowledging that they are not exhaustive and should not be applied mechanically or

given arbitrary weights. Id. at 1642 nn.52-53 (listing cases). The Sixth Circuit, for example,

considers six non-exclusive factors: “1) the permanency of the relationship between the parties;

2) the degree of skill required for the rendering of the services; 3) the worker’s investment in

equipment or materials for the task; 4) the worker’s opportunity for profit or loss, depending



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upon his skill; ... 5) the degree of the alleged employer’s right to control the manner in which the

work is performed ...;” and 6) “whether the service rendered is an integral part of the alleged

employer’s business.” Off Duty, 915 F.3d at 1055 (quoting Keller v. Miri Microsys. LLC, 781

F.3d 799, 807 (6th Cir. 2015)). “None of these factors is determinative on its own, and each must

be considered ‘with an eye toward the ultimate question—[the worker’s] economic dependence

on or independence from’ the alleged employer.” Id. (quoting Keller, 781 F.3d at 807).

II.    The Department’s Prior Guidance

       In 1949, the Department first issued an opinion letter “distilling six ‘primary factors

which the Court considered significant’ in Rutherford and Silk,” emphasizing that “no single

factor is controlling” in determining whether an employment relationship exists under the FLSA.

89 Fed. Reg. at 1643. In the decades since, the Department has generally applied a similar

multifactor economic reality analysis, deferring to legal precedent and the guiding principles

announced therein not to apply factors mechanically or assign any factor a predetermined weight.

See id. at 1642-44. The Department has also issued regulations providing similar guidance for

specific industries. See id. at 1643 (citing 29 C.F.R. §§ 500.20(h)(4), 780.330(a)-(b), 788.16(a)).

       On January 7, 2021, the Department published the 2021 Rule with an effective date of

March 8, 2021. See 89 Fed. Reg. at 1639; 86 Fed. Reg. at 1168. The 2021 Rule added a new part

to Title 29 of the Code of Federal Regulations (Part 795), introducing a new generally applicable

analysis for determining whether a worker is an employee or an independent contractor—one

that neither the Department nor any court had ever applied. Id. at 1638-39, 1727. Although the

rule reiterated the longstanding principle that a worker is an employee if, as a matter of economic

reality, the worker is economically dependent on the employer for work, id. at 1644, the rule

made significant changes to how the analysis is applied, id. at 1638-45.



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       Specifically, the 2021 Rule created a novel five-factor analysis for determining whether a

worker is economically dependent on an employer. In contrast to prior guidance and contrary to

case law, the 2021 Rule designated two of the five factors as “core factors” that should carry

greater weight in the analysis—meaning that, if they both indicate the same classification, there

is a “substantial likelihood” that the classification is the correct classification. Id. at 1638. The

two core factors were (1) the nature and degree of control over the work and (2) the worker’s

opportunity for profit or loss (which included the worker’s initiative and investments). Id. at

1644. The three remaining factors were (3) the amount of skill required for the work, (4) the

degree of permanence of the working relationship, and (5) whether the work is part of an

integrated unit of production. Id. at 1645; 86 Fed. Reg. 1171. Under the 2021 Rule, factors (3)

through (5) were “less probative and, in some cases, may not be probative at all” of economic

dependence and were “highly unlikely, either individually or collectively, to outweigh the

combined probative value of the two core factors.” 89 Fed. Reg. at 1645.

       After the change in Administration in 2021, the Department first delayed and then

withdrew the 2021 Rule. See 86 Fed. Reg. 12535 (Mar. 4, 2021) (the Delay Rule); 86 Fed. Reg.

24303 (May 6, 2021) (the Withdrawal Rule). Both the Delay Rule and the Withdrawal Rule were

challenged in Coalition for Workforce Innovation v. Walsh, in which a district court held that

they violated certain provisions of the Administrative Procedure Act and vacated both. See 2022

WL 1073346 (E.D. Tex. Mar. 14, 2022) (“CWI”). On May 13, 2022, the Department of Labor

appealed the decision in CWI. That decision was vacated as moot after the Department

promulgated the 2024 Rule. See Order, CWI, No. 22-40316 (5th Cir. Feb. 19, 2024), Dkt. No. 82.

III.   The 2024 Rule

       On October 13, 2022, the Department published a new proposed rule. Employee or

Independent Contractor Classification Under the Fair Labor Standards Act, 87 Fed. Reg. 62218.
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After receiving and considering over 55,000 comments, the Department promulgated the 2024

Rule on January 10, 2024, and it became effective on March 11, 2024. 89 Fed. Reg. 1638-01.

       The 2024 Rule both rescinds the 2021 Rule and separately replaces it with “an analysis

that is more consistent with judicial precedent and the Act’s text and purpose.” Id. at 1638; see

29 C.F.R. Part 795. Specifically, the 2024 Rule embodies a totality-of-the-circumstances

economic reality analysis in which the six longstanding factors do not have predetermined

weight. 89 Fed. Reg. at 1645. Those factors include: (1) the worker’s opportunity for profit or

loss depending on managerial skill; (2) investments by the worker and the potential employer;

(3) degree of permanence of the work relationship; (4) nature and degree of control; (5) extent to

which the work performed is an integral part of the potential employer’s business; and (6) the

worker’s skill and initiative. 29 C.F.R. §§ 795.110(b)(1)-(6).

       The preamble to the 2024 Rule also provides a detailed analysis about the application of

each factor to serve as a guide for determining whether a worker is an employee. See 89 Fed.

Reg. at 1671-1725. However, the 2024 Rule expressly emphasizes that it consists solely of

“general interpretations,” and is “intended to serve as a ‘practical guide to employers and

employees’ as to how the Department will seek to apply the Act.” 29 C.F.R. § 795.100.

IV.    This Lawsuit

       Plaintiffs Margaret Littman and Jennifer Chesak filed their Verified Complaint

(“Compl.”) on February 21, 2024. See ECF No. 1. Plaintiffs advance three claims: (1) the 2024

Rule is arbitrary and capricious, Compl. ¶¶ 48-53; (2) the 2024 Rule exceeds the Department’s

statutory authority, id. ¶¶ 54-57; and (3) the 2024 Rule violates the non-delegation doctrine, id.

¶¶ 58-63. Plaintiffs allege that the 2024 Rule will interfere with their freelance writing, see id.

¶¶ 41, 46. On March 1, 2024, Plaintiffs moved for a preliminary injunction. See ECF No. 7-1.



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                                      LEGAL STANDARD

       Federal Rule of Civil Procedure 12(b)(1) requires dismissal if the court lacks subject-

matter jurisdiction. “[I]t is to be presumed that a cause lies outside this limited jurisdiction, and

the burden of establishing the contrary rests upon the party asserting jurisdiction.” Metro

Hydroelec. Co. v. Metro Parks, 541 F.3d 605, 610 (6th Cir. 2008) (quotation omitted).

       Even where jurisdiction is present, a preliminary injunction is an “extraordinary and

drastic remedy” that “may only be awarded upon a clear showing that the plaintiff is entitled to

such relief.” Fowler v. Benson, 924 F.3d 247, 256 (6th Cir. 2019) (quotation omitted). Courts

consider: “(1) whether the party moving for the injunction is facing immediate, irreparable harm,

(2) the likelihood that the movant will succeed on the merits, (3) the balance of the equities, and

(4) the public interest.” D.T. v. Sumner Cnty. Schs., 942 F.3d 324, 326 (6th Cir. 2019).

       “Before or after beginning the hearing on a motion for a preliminary injunction, the court

may advance the trial on the merits and consolidate it with the hearing,” Fed. R. Civ. P. 65(a)(2),

so long as the court gives “clear and unambiguous notice” of its intent to consolidate. Univ. of

Texas v. Camenisch, 451 U.S. 390, 395 (1981). Consolidation is appropriate where the “issues

raised by the complaint [are] legal” and “d[o] not require additional factual development.”

Slidewaters LLC v. Wash. St. Dep’t of Lab. & Indus., 4 F.4th 747, 760 (9th Cir. 2021).

       Whether in response to a motion for a preliminary injunction or otherwise, “a party may

file a motion for summary judgment at any time until 30 days after the close of all discovery.”

Fed. R. Civ. P. 56(b). “The court shall grant summary judgment if the movant shows that there

is no genuine issue of material fact and the movant is entitled to judgment as a matter of law.”

Id. 56(a). Summary judgment is often the appropriate method of resolving cases under the APA

because the preliminary injunction procedure “assumes that the district court will be obliged to

make a decision before the complete case is presented—before all the evidence is submitted.”

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Am. Bioscience, Inc. v. Thompson, 269 F.3d 1077, 1083 (D.C. Cir. 2001). However, “when

reviewing agency action[,] the question of whether the agency acted in an arbitrary and

capricious manner is a legal one which the district court can resolve on the agency record.” Id.

Put differently, “[t]he entire case on review is a question of law, and only a question of law.”

Marshall Cnty. Health Care Auth. v. Shalala, 988 F.2d 1221, 1226 (D.C. Cir. 1993).

                                          ARGUMENT

I.     The Court should dismiss this case for lack of subject-matter jurisdiction.

       “Article III of the Constitution limits federal courts’ jurisdiction” to the adjudication of

“‘Cases’ and ‘Controversies,’” and thereby requires plaintiffs to “establish that they have

standing to sue.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013) (quotation omitted).

“[W]here a plaintiff moves for a preliminary injunction, the district court … should normally

evaluate standing under the heightened standard for evaluating a motion for summary judgment,”

and must assess whether they have shown a “substantial likelihood of standing.” Waskul v.

Washtenaw Cnty., 900 F.3d 250, 255 n.3 (6th Cir. 2018) (quotations omitted). Specifically,

Plaintiffs must show that they have “(1) suffered an injury in fact, (2) that is fairly traceable to

the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable

judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Importantly, “[a] concrete

injury … must be more than speculative,” R.K. v. Lee, 53 F.4th 995, 999 (6th Cir. 2022);

“[a]llegations of possible future injury are not sufficient,” Clapper, 568 U.S. at 409.

       Plaintiffs’ conclusory allegations do not meet these requirements, particularly given that

the 2024 Rule simply incorporates standards that federal courts have applied for decades.

Plaintiffs’ standing theory is founded upon mere speculation that the 2024 Rule “increases the

risk that companies with which [they] work[] will face liability” for classifying them as

independent contractors, and that those companies will therefore “misclassify” them as

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employees rather than independent contractors or “cease to work” with them. Compl. ¶¶ 41, 46.

A plaintiff alleging a “risk of future harm” cannot simply assert that the risk has increased by

some undefined amount, but must instead show that the risk “is sufficiently imminent and

substantial.” TransUnion LLC v. Ramirez, 594 U.S. 413, 435 (2021). Similarly, Plaintiffs’

allegations that the 2024 Rule “chill[s]” their “business practices” in some undefined way,

Compl. ¶¶ 42, 47, “are not an adequate substitute for a claim of specific present objective harm

or a threat of specific future harm.” Clapper, 568 U.S. at 418 (quotation omitted).

       Plaintiffs’ fears of being classified as employees are particularly unreasonable in light of

the terms of the 2024 Rule. As the Department explained, the Rule, which describes how the

Department will construe the FLSA in its enforcement efforts, “is not intended to disrupt the

businesses of independent contractors who are, as a matter of economic reality, in business for

themselves.” 89 Fed. Reg. at 1,638. The Rule instead “provides a consistent approach for those

businesses that engage (or wish to engage) independent contractors as well as for those who wish

to work as independent contractors.” Id. at 1,640. Thus, the Department “does not anticipate that

independent contractors … who are correctly classified as independent contractors under current

circuit law would be reclassified.” Id. at 1,659; see also id. at 1,658-59 (supportive comments).

The Department has also issued subregulatory guidance, drawing on the 2024 Rule, that explains

that writers in positions similar to Plaintiffs’ may often qualify as independent contractors. See

2024 FLSA Worker Classification Rule—Information for Potential Freelancers, Wage & Hour

Div., U.S. Dep’t of Labor, https://perma.cc/9T66-JQYA (last visited March 14, 2024).

       Indeed, Plaintiffs allege that they spent decades working as independent contractors prior

to the promulgation of the 2021 Rule. Compl. ¶¶ 38-40, 43-44. But the 2024 Rule simply adopts

“guidance derived from the same analysis that courts have applied for decades,” 89 Fed. Reg. at



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1,658, under which Plaintiffs apparently worked without incident. If Plaintiffs were able to work

as properly classified independent contractors before the 2021 Rule, then the 2024 Rule should

not change those circumstances. Nor do Plaintiffs allege that their companies changed their

practices in ways favorable to them after the 2021 Rule was promulgated. For similar reasons, an

order setting aside the interpretive regulations in the 2024 Rule would not redress Plaintiffs’

purported injuries. The 2024 Rule independently rescinds the 2021 Rule, and that rescission

“remain[s] operative even if th[e] final rule’s regulations replacing the 2021 IC Rule are

invalidated,” because the Department concluded that the 2021 Rule deviated from longstanding

precedent and created confusion. Id. at 1724-25. In the absence of the 2021 Rule, the Department

reasoned that “case law and the Department’s subregulatory guidance”—the substance of which

is materially identical to the 2024 Rule—would apply. Id. at 1,725.

       Plaintiffs’ additional allegations concerning Ms. Chesak fare no better. Unlike Ms.

Littman, Ms. Chesak asserts that she “works with companies that, to comply with the 2024 Rule,

have taken measures that harm Ms. Chesak.” Compl. ¶ 45. But Plaintiffs do not support this

conclusory statement with any plausible allegations that these companies have done so as a

result of the 2024 Rule, rather than as part of changes to the companies’ overall business

practices or in response to general concerns about misclassification. Indeed, Plaintiffs allege that

Ms. Chesak’s companies have already made these changes, even though the 2024 Rule was not

even in effect when Plaintiffs filed their Complaint. Plaintiffs also provide no reason to think that

these companies would revert these changes if the 2024 Rule were set aside, given that the 2024

Rule simply provides interpretations consistent with judicial precedent. Because Plaintiffs cannot

show that their freelancing activities are or will be affected in any significant way by the 2024

Rule, this case should be dismissed for lack of subject-matter jurisdiction.



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II.    In the alternative, the Court should enter judgment for the Department.

       To the extent the Court concludes that it has jurisdiction, the Court should enter judgment

for the Department. The issues in this case are entirely legal, and the Department has filed the

certified list of the contents of the administrative record (all of which are publicly available) with

the Court, meaning that this case is amenable to resolution on summary judgment.

       The Department did not act arbitrarily in promulgating the 2024 Rule, which carefully

synthesizes precedent to generate a familiar and readily applicable interpretation to guide how

the Department would analyze a worker’s classification as an employee or an independent

contractor. The 2024 Rule is also a reasoned, and indeed, correct interpretation of the FLSA’s

expansive definition of “employ”—one that falls well within the Department’s inherent authority

to interpret the FLSA. For the same reasons, the Court should deny Plaintiffs’ motion for a

preliminary injunction, as Plaintiffs have not shown that they are likely to prevail on the merits.

       A.      The 2024 Rule is not arbitrary and capricious.

       To pass muster under arbitrary-and-capricious review, the agency need only “articulate a

satisfactory explanation for [the] action including a rational connection between the facts found

and the choice made.” Little Sisters of the Poor v. Pennsylvania, 140 S. Ct. 2367, 2383 (2020).

Under this “deferential” standard, a court “simply ensures that the agency has acted within a

zone of reasonableness,” and “may not substitute its own policy judgment for that of the

agency.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). Moreover, when an

agency changes a policy, it need not demonstrate “that the reasons for the new policy are better

than the reasons for the old one,” but only that “the new policy is permissible under the statute,

that there are good reasons for it, and that the agency believes it to be better.” FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009); see Ohio v. Becerra, 87 F.4th 759, 772 (6th

Cir. 2023) (courts “do not apply greater scrutiny to agency action that changes a prior policy”).

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       The Department provided an exhaustive account of its reasons for rescinding the 2021

Rule and replacing it with the 2024 Rule’s interpretive regulations. As the agency explained, the

2024 Rule is consistent “with the FLSA’s text … as well as decades of case law,” 89 Fed. Reg. at

1649, and thereby less likely than the 2021 Rule to cause “confusion and uncertainty,” id. at

1653, or to lead to “the misclassification of employees as independent contractors,” which could

“result in the denial of FLSA protections,” id. at 1656. The Department also determined that, in

the event the 2024 Rule’s interpretive regulations were set aside, it would still intend to rescind

the 2021 Rule for the same reasons. Id. at 1724-25. In that event, “case law and the Department’s

subregulatory guidance … would provide a familiar and longstanding standard for businesses

and workers.” Id. at 1725. The agency therefore provided a “satisfactory explanation” for its

decisions, and those decisions should be upheld. Little Sisters of the Poor, 140 S. Ct. at 2383.

       Plaintiffs’ arbitrary-and-capricious argument is predicated largely on their assertion that

the 2024 Rule “reduce[s] clarity and certainty.” Mot. at 8. But the 2024 Rule supplies a

comprehensive interpretation, based on case law and the Department’s enforcement expertise, for

determining whether a worker is an employee. 89 Fed. Reg. at 1669. It does so in easily

accessible interpretive regulatory text that can be applied to workers in any industry and that is

clearer and more robust than the Department’s earlier subregulatory guidance. Id. at 1659-60. To

be sure, the Department did not provide mechanistic instructions for analyzing the factors,

because to do so would be directly contrary to case law and would limit the test’s intended

flexibility. Id. at 1669-70. Rather, the factors are tools that help determine whether a worker is

economically dependent on their employer for work or is in business for themself. Id. at 1670.

       Plaintiffs cannot show that the 2024 Rule is more likely to cause confusion than the 2021

Rule—let alone that the agency’s contrary conclusion was unreasonable, as they must to prevail



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on this claim. See Prometheus Radio Project, 141 S. Ct. at 1158 (emphasizing that the standard

is “deferential” and ensures that the agency acted within a “zone of reasonableness”). Plaintiffs’

supposition is belied by the fact that the 2024 Rule sets forth, in detailed interpretive regulations,

the multifactor economic reality test that the Supreme Court and other courts have applied for

decades, while the 2021 Rule deviated from that settled approach with a novel alternative. Id. at

1649-53. Indeed, the Sixth Circuit itself applies a six-factor test that is substantively identical to

the test enumerated in the 2024 Rule. Compare Off Duty, 915 F.3d at 1054-55 with 29 C.F.R.

§ 795.110(b). That alone should resolve this case in the Department’s favor.

       Similarly, Plaintiffs’ insistence that multifactor tests—which are common in many areas

of the law—are always inappropriate is off-base. Mot. at 8. While such a test may not always

provide “definitive guidance to those affected, it allows for flexible application to the myriad

different working relationships that exist in the national economy.” McFeeley v. Jackson Street

Entertainment, LLC, 825 F.3d 235, 241 (4th Cir. 2016), cited in 89 Fed. Reg. at 1,642 n.52; see

also 89 Fed. Reg. at 1642 n.51 (citing Usery v. Pilgrim Equip. Co., 527 F.2d 1308, 1311 (5th Cir.

1976) (“[T]he lesson taught by the Supreme Court’s 1947 trilogy is that any formalistic or

simplistic approach to who receives the protection of this type of legislation must be rejected.”)).

The Department reasonably determined that the nuanced analysis that accompanies each factor in

the 2024 Rule provides clearer guidance than rote instructions for weighing. Id. at 1670.

       Nor can Plaintiffs seriously claim that the 2021 Rule provided greater clarity. In

describing the 2021 Rule as a “two-factor test,” Mot. at 1; Compl. ¶ 3, Plaintiffs fall prey to the

very confusion the Department sought to dispel in promulgating the 2024 Rule. The 2021 Rule in

fact identified five factors for consideration, also treated “no one factor [as] dispositive”, and

similarly allowed decisionmakers to consider other, “additional” factors. Id. at 1644. To apply



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the 2021 Rule, courts would have needed to discern what its new interpretation meant (including

how it weighed and narrowed certain factors) and then to decide whether to apply it or their own

standards from precedent (or some combination). Id. at 1654. These questions could have taken

years of litigation in different circuit to sort out, and businesses operating nationwide would have

faced the prospect of familiarizing themselves with multiple standards for determining who is an

employee under the FLSA, resulting in more confusion and uncertainty. Id. Perhaps that is why

the 2021 Rule’s “novel analysis has not been applied by any court.” Id. at 1656. In contrast, the

2024 Rule adopts an analytical scheme that the agency and courts have applied for decades.

       Finally, Plaintiffs claim that the 2024 Rule “contradict[s] case law” from the Second and

D.C. Circuits, Mot. at 9, which, as the Department acknowledged, “describe the employee’s

opportunity for profit or loss and the employee’s investment as a single factor,” 89 Fed. Reg. at

1642 & n.58. But that difference in draftsmanship is insubstantial. As the agency noted, those

two circuits “still use the same considerations as the other circuits to inform their economic

realities analysis.” Id. at 1642; see also id. at 1655 (explaining that courts generally used the

same factors “[d]espite slight variation in the exact number and phrasing”). Both courts use the

familiar Silk factors to determine “whether, as a matter of economic reality, the workers depend

upon someone else’s business,” and cite—and are cited by—cases from other circuits in applying

those factors. Brock v. Superior Care, Inc., 840 F.2d 1054, 1059 (2d Cir. 1988); accord

Morrison v. Int'l Programs Consortium, Inc., 253 F.3d 5, 11 (D.C. Cir. 2001). That is exactly

what the 2024 Rule does too, despite minor discrepancies in how to group the factors.

       Even if the 2024 Rule did conflict with those cases, that would have no bearing on the

Court’s analysis of whether the 2024 Rule is arbitrary and capricious. The Sixth Circuit applies a

standard materially indistinct from the 2024 Rule, compare Off Duty, 915 F.3d at 1054-55 with



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29 C.F.R. § 795.110(b), and its decisions “remain[] controlling authority unless an inconsistent

decision of the United States Supreme Court requires modification of the decision or this Court

sitting en banc overrules the prior decision.” Salmi v. Sec’y of HHS, 774 F.2d 685, 689 (6th Cir.

1985). To hold that the 2024 Rule is arbitrary and capricious, the Court would effectively have to

conclude that the Sixth Circuit’s own approach is unreasonable. It should decline to do so.

       B.      The 2024 Rule does not exceed the Department’s authority under the Fair
               Labor Standards Act.

               1.      The 2024 Rule is consistent with the FLSA.

       The 2024 Rule does not exceed the bounds of the FLSA. To the contrary, the 2024 Rule’s

economic reality analysis is fully consistent with the FLSA’s expansive definition of

“employee.” The Act defines “employ” to “include[] to suffer or permit to work,” 89 Fed. Reg.

at 1667; 29 U.S.C. § 203(d)(e)(1), (g)—language that demonstrates Congress’s intent for the

FLSA to apply broadly and inclusively. 89 Fed. Reg. at 1667 n.216 (citing Nationwide Mut. Ins.

Co. v. Darden, 503 U.S. 318, 326 (1992) (noting that “employ” is defined with “striking

breadth”); U.S. v. Rosenwasser, 323 U.S. 360, 362 (1945) (“A broader and more comprehensive

coverage of employees … would be difficult to frame.”)); see Off Duty, 915 F.3d at 1054-55

(“The definition of ‘employee’ in this context ‘is strikingly broad.’”) (quoting Keller, 781 F.3d at

804). Accordingly, the 2024 Rule is consistent with the Act’s text and purpose as interpreted by

courts because it focuses broadly on a worker’s economic dependence on an employer,

considering the totality of the circumstances and not assigning any factors a predetermined

weight. 89 Fed. Reg. at 1639, 1641.

       The 2024 Rule is also consistent with binding judicial precedent. The Supreme Court has

repeatedly emphasized that employment status under the economic reality test turns upon the

“circumstances of the whole activity,” rather than “isolated factors.” Id. at 1651 n.125 (quoting


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Rutherford, 331 U.S. at 730; citing Silk, 331 U.S. at 716, 719 (denying the existence of a “rule of

thumb to define the limits of the employer-employee relationship” and determining employment

status based on “the total situation”)). Similarly, the Sixth Circuit has explained that “the test

must account for the full range of factors relevant to a worker’s employment status,” applying a

six-factor test that, it bears repeating, is materially indistinguishable from that provided in the

2024 Rule. Compare Off Duty, 915 F.3d at 1054-55 with 29 C.F.R. § 795.110(b); see also 89

Fed. Reg. at 1651 & nn.126-33 (collecting cases from other circuits).

       Plaintiffs’ attempts to find daylight between the 2024 Rule and case law are again

unavailing. See Mot. at 10. As explained above, the 2024 Rule is not inconsistent with decisions

from the Second and D.C. Circuits, which would not be controlling on this Court, particularly in

light of Sixth Circuit precedent. See supra Section II.A. Nor does the 2024 Rule conflict with

Encino Motorcars v. Navarro, which did not deal with the distinction between employees and

independent contractors or any of the Department’s guidance on the subject. See Mot. at 10.

Encino Motorcars, which dealt with whether service advisors should be included within the

FLSA’s exemption for automobile salesmen, partsmen, or mechanics, rejected the approach to

statutory interpretation “that exemptions to the FLSA should be interpreted narrowly” as lacking

any “textual indication” in the statute, and instead directed courts to give the FLSA’s exemptions

a “fair reading.” 138 S. Ct. 1134, 1142 (2018) (emphasis added).

       In contrast, as the 2024 Rule explained, “[t]here is a clear textual indication in the Act’s

definitions, by the inclusion of the ‘suffer or permit’ language, that broad coverage under the Act

was intended.” 89 Fed. Reg. at 1668 n.221 (quoting 29 U.S.C. § 203(g). “Moreover, Encino did

not hold that the FLSA’s remedial purpose may never be considered,” and other courts, including

the Sixth Circuit, “have appropriately continued to consider the purpose of the Act.” Id.; see,



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e.g., Off Duty, 915 F.3d at 1062 (“[W]e remain mindful of the Supreme Court’s instruction to

avoid a narrow, grudging interpretation of the FLSA and to remember its remedial and

humanitarian purpose.”) (quotation omitted). Encino’s limited holding did not disturb the

longstanding Supreme Court and circuit court precedent elucidating the economic reality

analysis upon which the 2024 Rule relies, and so it does not undermine the Rule.

               2.     The 2024 Rule is an interpretive rule.

       Plaintiffs’ other arguments rely on the mistaken assertion that the 2024 Rule is a

legislative rule. See Mot. at 10 (“[T]he FLSA gives the Department no authority to issue

legislative rules….”); id. at 11 (“[A]llowing the Department to promulgate legislative rules on

this topic would raise significant constitutional concerns.”). Because the Rule is an interpretive

rule, it neither exceeds the Department’s “inherent authority to issue interpretive rules informing

the public of the procedures and standards it intends to apply in exercising its discretion” nor

raises a non-delegation problem. Metro. Sch. Dist. of Wayne Twp. v. Davila, 969 F.2d 485, 490

(7th Cir. 1992); see also Vanguard Interstate Tours, Inc. v. ICC, 735 F.2d 591, 596 n.5 (D.C.

Cir. 1984) (“[A]n agency has inherent authority to interpret its governing statute.”).

       As opposed to “legislative rules,” which carry the “force and effect of law,” Chrysler

Corp. v. Brown, 441 U.S. 281, 302-03 (1979), “the critical feature of interpretive rules is that

they are ‘issued by an agency to advise the public of the agency’s construction of the statutes and

rules which it administers.’” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 97 (2015) (quoting

Shalala v. Guernsey Memorial Hosp., 514 U.S. 87, 99 (1995)). An interpretive rule “simply

states what the administrative agency thinks the statute means.” First Nat’l Bank of Lexington v.

Sanders, 946 F.2d 1185, 1188 (6th Cir. 1991) (per curiam) (quotation omitted). An agency “does

the public a favor if it announces the interpretation in advance of enforcement, whether the



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announcement takes the form of a rule or of a policy statement, which the [APA] assimilates to

an interpretive rule.” Hoctor v. U.S. Dep’t of Agric., 82 F.3d 165, 167 (7th Cir. 1996).

       Right off the bat, the 2024 Rule indicates its interpretive nature. Section 795.100

(emphasis added) explains that Part 795—where the 2024 Rule’s regulations are located—

“contains the Department[’s] … general interpretations for determining whether workers are

employees or independent contractors.” It continues: “[t]hese interpretations are intended to

serve as a ‘practical guide to employers and employees,’” and “[t]he Administrator of the

Department’s Wage and Hour Division will use these interpretations to guide the performance of

their duties under the Act, unless and until [the Department] is otherwise directed by

authoritative decisions of the courts or the Administrator concludes upon reexamination of an

interpretation that it is incorrect.” Part 795 is also contained within Subchapter B of the chapter

relating to the Wage and Hour Division (“Statements of General Policy or Interpretation Not

Directly Related to Regulations”), which explicitly states that “[a]dvisory interpretations

announced by the Administrator serve only to indicate the construction of the law which will

guide the Administrator,” 29 C.F.R. § 775.1, rather than Subchapter A (“Regulations”).

       The 2024 Rule’s preamble further evinces the Department’s intent to promulgate not

substantive rules but interpretive guidelines derived from the FLSA’s text and judicial precedent.

As the Department explained, it proposed to replace the 2021 Rule “because that rule was not

fully aligned with the FLSA’s text as interpreted by the courts or the Department’s longstanding

analysis.” 89 Fed. Reg. at 1649. In contrast, the Department reasoned that the 2024 Rule would

“provide more consistent guidance to employers in properly classifying workers as employees or

independent contractors, as well as useful guidance to workers on whether they are correctly

classified as employees or independent contractors.” Id. at 1734. These are the hallmarks of an



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interpretive rule: rather than imposing new legal requirements separate from or in addition to the

statute, the 2024 Rule “advise[s] the public of the agency’s construction of” the FLSA, Perez,

575 U.S. at 97, thereby “do[ing] the public a favor” by providing advance notice of its

interpretation. Hoctor, 82 F.3d at 167; see also Harris v. Diamond Dolls of Nevada, LLC, 2022

WL 4125474, at *2 (D. Nev. July 26, 2022) (noting that “DOL’s regulations,” including the

“Independent Contractor Regulations,” “are generally not binding but merely interpretative”).

        The Department’s admitted lack of authority to promulgate legislative rules regarding the

distinction between employees and independent contractors, see Mot. at 10, confirms that the

Department did not intend the 2024 Rule to be legislative at all. Plaintiffs’ argument

paradoxically insists that the Department must have been engaging in legislative rulemaking,

contrary to the Department’s express intentions, the absence of any legislative language in the

rule itself, and the Department’s known lack of authority to promulgate legislative rules 1—only

to then insist that the 2024 Rule is invalid for that very reason. But that attempt to create a

supposed non-delegation problem where none exists offends all the ordinary rules of

interpretation. Cf. Nw. Hosp., Inc. v. Hosp. Serv. Corp., 687 F.2d 985, 992 (7th Cir. 1982)

(explaining that the principle of constitutional avoidance “applies equally to administrative

regulations”). Plaintiffs’ argument also proves too much. Hypothetically speaking, if the 2024

Rule were a legislative rule, then the 2021 Rule would be as well—meaning that the rule

Plaintiffs claim to support would also need to be set aside. That would restore the Department’s

pre-2021 Rule subregulatory guidance, the substance of which is materially identical to the

provisions of the 2024 Rule to which Plaintiffs object.



1   The Department has repeatedly acknowledged that it lacks authority to promulgate legislative
rules on this subject, including in the principal case upon which Plaintiffs rely. See Defs.’ Cross-
Mot. for Summ. J. & Opp. to Pls.’ Mot. for Summ. J. at 16, CWI, Dkt. No. 23.

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       Ultimately, Plaintiffs’ argument that the 2024 Rule is legislative in nature is entirely

based upon a single district court decision, CWI, which addressed the 2021 Rule. Mot. at 10-11;

see 2022 WL 1073346. But that decision, which was vacated by the court of appeals as moot,

would not have been controlling on this court, and which did not involve the 2024 Rule, should

not be relied upon here. Cf. Harris, 2022 WL 4125474, at *2 (rejecting reliance on CWI).

       The conclusions of the district court in CWI are also unpersuasive. Contrary to that

court’s conclusion, merely changing how the Department interprets the FLSA does not alter

“existing individual rights and obligations.” Id. at *6. Those rights and obligations remain set by

the FLSA, not by the Department’s interpretive guidelines which, like all interpretive rules, “do

not have the force and effect of law and are not accorded that weight in the adjudicatory

process.” Perez, 575 U.S. at 97. In other words, the interpretations espoused in the 2024 Rule (or

the 2021 Rule) could never by their own force change rights and obligations, which would

instead be determined by a court interpreting the FLSA in the context of a specific case.

       The CWI court also wrongly concluded that the Department’s decision to provide an

opportunity for comment suggested that the Department thought notice and comment was

required. 2022 WL 1073346, at *6. But “there is nothing in the Act to forbid an agency to use the

notice and comment procedure in cases in which it is not required to do so.” Hoctor, 82 F.3d at

171-72; see also Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519,

524 (1978) (agencies are “free to grant additional procedural rights in the exercise of their

discretion”). In promulgating the 2024 Rule (as well as the 2021 Rule and its withdrawal), the

Department chose to solicit comment to obtain the public’s views, and in fact made “several

adjustments to the proposed regulations after consideration of the comments received.” 89 Fed.

Reg. at 1664. Moreover, the Department’s choice to utilize notice and comment provides, at



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most, a “snippet of evidence of agency intent;” “[h]ere, the snippet is not enough,” given that the

Department repeatedly characterized the 2024 Rule as interpretive. Health Ins. Ass’n of Am., Inc.

v. Shalala, 23 F.3d 412, 423 (D.C. Cir. 1994). To hold that the Department’s choice to undertake

notice-and-comment procedures rendered the 2024 Rule an invalid legislative rule would

penalize the agency for choosing to solicit public input even though it was not required to do so.

       For these reasons, the 2024 Rule falls well within the Department’s authority to interpret

the FLSA; restates a long-accepted interpretation of the FLSA’s terms; and represents a reasoned

exercise of the agency’s discretion. The Court should enter judgment for the Department.

III.   Plaintiffs are not entitled to the extraordinary relief of a preliminary injunction.

       Even if the Court declines to enter judgment for the Department and concludes that

Plaintiffs have demonstrated a likelihood of prevailing on the merits, Plaintiffs still are not

entitled to a preliminary injunction. Plaintiffs fail to show irreparable injury, much less an injury

that outweighs the harm an injunction would do to the Department’s efforts to protect workers.

       A.      Plaintiffs have failed to show irreparable injury.

       To obtain a preliminary injunction, Plaintiffs have “the burden of establishing a clear case

of irreparable injury”—i.e., that they will be irreparably injured before the Court can decide the

merits of the case. Garlock, Inc. v. United Seal, Inc., 404 F.2d 256, 257 (6th Cir. 1968) (per

curiam). To satisfy that “high standard,” Plaintiffs must show that their injuries are “real,”

“substantial,” and “immediate,” not speculative. Los Angeles v. Lyons, 461 U.S. 95, 111 (1983).

Plaintiffs must also “demonstrate that irreparable injury is likely,” not merely possible, “in the

absence of an injunction.” Winter v. NRDC, 555 U.S. 7, 22 (2008).

       None of Plaintiffs’ asserted injuries withstand scrutiny. Plaintiffs start by relying on the

principle that the loss of constitutional freedoms can sometimes constitute irreparable injury, but

never identify which of their freedoms the 2024 Rule purportedly violated. Mot. at 12. Plaintiffs’

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only challenge that even arguably has constitutional implications is their (incorrect) assertion that

Congress improperly delegated authority to the Department. See id. at 11. But constitutional

violations only amount to irreparable injury in certain “areas of constitutional jurisprudence,”

like the “right of privacy and certain First Amendment claims,” Siegel v. LePore, 234 F.3d 1163,

1178 (11th Cir. 2000) (en banc); violations of structural requirements, like the “separation of

powers,” are “not invariably … irreparable injur[ies],” John Doe Co. v. CFPB, 849 F.3d 1129,

1135 (D.C. Cir. 2017); see Tiger Lily LLC v. HUD, 499 F. Supp. 3d 538, 550 (W.D. Tenn. 2020).

       Nor do Plaintiffs’ allegations of harm, even assuming they were sufficient to establish

standing, but see supra Part I, come close to meeting the higher threshold required for irreparable

injury. Most importantly, Plaintiffs fail to allege that they will suffer any significant injury before

the Court can decide the merits of this case. The companies for which they work could not

realistically face any threat of enforcement action in that short timeframe. Nor are any decisions

that their companies may have made fairly traceable to the 2024 Rule, given that the 2024 Rule

expressly and repeatedly disclaims any intention or expectation that it would disturb legitimate

independent contracting arrangements. See 89 Fed. Reg. at 1,638, 1,640, 1,658-59; cf. New York

v. Dep’t of Homeland Security, 969 F.3d 42, 59 (2d Cir. 2020) (relying on the agency’s “own

predictions” in holding that harms were traceable to the agency’s actions).

       Even if Plaintiffs could show that the 2024 Rule were likely to inflict some costs upon

them before the Court can decide the merits, that still would not amount to irreparable injury.

Economic loss generally “does not constitute irreparable harm, in and of itself.” Celebrezze v.

Nuclear Reg. Comm’n, 812 F.2d 288, 290 (6th Cir. 1987). Even where economic loss is

“irrecoverable” due to sovereign immunity, cf. Mot. 12-13, a plaintiff is “not relieved of its

obligation to demonstrate that its harm will be ‘great,’” N. Air Cargo v. U.S. Postal Serv., 756 F.



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Supp. 2d 116, 125 n.6 (D.D.C. 2010), which Plaintiffs here have not done. Compl. ¶¶ 38-47.

“Otherwise, a litigant seeking injunctive relief against the government would always satisfy the

irreparable injury prong, nullifying that requirement.” CoverDyn v. Moniz, 68 F. Supp. 3d 34, 49

(D.D.C. 2014). In Texas v. EPA, for example, the plaintiffs alleged a threat to the “very

existence” of their businesses. 829 F.3d 405, 434 (5th Cir. 2016). In contrast, Plaintiffs here

neither show nor allege specific, imminent, and significant threats to their livelihoods.

       Finally, Plaintiffs’ delay in moving for a preliminary injunction—waiting about 50 days

after the 2024 Rule was published on January 10 and until just ten days before the Rule was

slated to go into effect on March 11, knowing that their motion would not be ready for decision

until after the Rule had taken effect—strongly undercuts their arguments. “[A] party requesting a

preliminary injunction must generally show reasonable diligence.” Benisek v. Lamone, 138 S. Ct.

1942, 1944 (2018). Thus, “an unreasonable delay in filing for injunctive relief will weigh against

a finding of irreparable harm.” Allied Erecting & Dismantling Co. v. Genesis Equip. & Mfg.,

Inc., 511 F. App’x 398, 405 (6th Cir. 2013); see Vita-Mix Corp. v. Tristar Prods., Inc., 2008 WL

11383504, at *8-9 (N.D. Ohio 2008) (noting the “wealth of case law” holding that delay

“undermines [a] belated assertion of irreparable harm”). Plaintiffs’ unexplained and inexplicable

delay belies any claim that their freelancing activities are in imminent jeopardy.

       B.      The equities and the public interest weigh against a preliminary injunction.

       Because Plaintiffs cannot establish the first two injunction factors, “it is clear they cannot

make the corresponding strong showings [on the second two factors] required to tip the balance

in their favor.” Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1295 (D.C. Cir. 2009); see

also Daunt v. Benson, 956 F.3d 396, 422 (6th Cir. 2020) (“Where the federal government is the

defendant, the last two factors merge.”). To the contrary, setting the 2024 Rule aside in favor of

the 2021 Rule would disrupt the Department’s efforts to help prevent workers from being

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misclassified as independent contractors by replacing the Department’s reasoned, careful

interpretation of the FLSA (the 2024 Rule) with a confusing, novel test that was never applied by

any federal court (the 2021 Rule). 89 Fed. Reg. at 1654-56. Such a result would be contrary to

the FLSA’s fundamental purposes.

        Plaintiffs also assert that the “public interest is served by compliance with the APA.”

Mot. at 13 (quotation omitted). But that attempt to collapse the merits into the public interest

factor fails in two ways: Plaintiffs have not actually shown an APA violation, and there is also

“inherent harm to an agency” in preventing it from interpreting statutes that “Congress found it

in the public interest to direct that [it] develop and enforce.” Cornish v. Dudas, 540 F. Supp. 2d

61, 65 (D.D.C. 2008). If the merits are unclear, the importance of ensuring that the Department is

free to guide its own employees in performing their duties under the FLSA, and thereby help

workers access the full panoply of FLSA protections, should carry the day over speculative

assertions about compliance costs. The Court should uphold the Department’s efforts to restore

an interpretation that faithfully implements the FLSA’s broad text and that the Supreme Court,

federal circuit courts, and the Department have applied to the benefit of workers for decades. 2

                                        CONCLUSION

        For these reasons, the Court should deny Plaintiffs’ motion for a preliminary injunction

and dismiss this case or, in the alternative, enter judgment for the Department.




2   Plaintiffs did not submit a proposed order or otherwise indicate the scope of their requested
relief. To the extent Plaintiffs seek an injunction that would apply to others, such a request
should be denied. See, e.g., Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994)
(injunctions must be no broader than “necessary to provide complete relief to the plaintiffs”).

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Dated: March 15, 2024                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2024, a copy of the foregoing was filed electronically

via the Court’s ECF system, which effects service upon counsel of record.

                                                /s/ John T. Lewis
                                                John T. Lewis




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